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                       UNITED STATES DISTRICT COURT

                             DISTRICT OF COLUMBIA
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UNITED STATES OF AMERICA,                                Criminal No. 21-cr-40 (TNM)

              V.


PATRICK MCCAUGHEY Ill ,

                     Defendant.                          June 14, 2021
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               MOTION TO MODIFY CONDITIONS OF RELEASE

      The Defendant Patrick Mccaughey Ill respectfully moves that his conditions

of release be modified such that he be: (a) placed on a 7:00am-9:00pm curfew -

maintaining GPS monitoring - in lieu of home detention, and (b) allowed to travel

though the Southern District of New York for purposes of going to and from work.

      The curfew request, which is actually made at the suggestion of the

defendant's supervising U.S. Pretrial Services Officer Michael Jones, is due to

the fact that the current "home confinement" parameters do not have the flexibility

necessary to accommodate the defendants job requirements, i.e., leaving

construction job sites to pick up lumber and other materials, tools, etc. The reason

for the travel request is that the defendant and his employer father live and work

in towns that border the State of New York and the defendant has been compelled

to drive circuitous routes to stay withing the confines of his current restrictions.

      Both USPO Jones and the Government are in agreement with these

requests.
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Dated:        Stamford·, Connecticut
              June 14th , 2021
                                         By:   _7__-_~___.____
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                         CERTIFICATE OF SERVICE

                hereby certify that a copy of the foregoing was filed and

         served electronically on all parties of record , on this 14 th day of

         June in the year of our Lord 2021 .



                                 Lindy R. Urso
